                                                              Case 2:20-cv-02008-RFB-BNW Document 7
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                                                              Attorneys for Defendant
                                                          7

                                                          8                           UNITED STATES DISTRICT COURT

                                                          9                                  DISTRICT OF NEVADA

                                                         10                                            * * *

                                                         11    GREENBROZ, INC., a Nevada
                                                               Corporation,                               Civil Action No.: 2:20-cv-02008-RFB-BNW
             Tel. (702) 385-6000 • Fax: (702) 385-6001
             3800 Howard Hughes Parkway, 17th Floor




                                                         12
                                                                                     Plaintiff,
KEMP JONES, LLP




                                                                                                           STIPULATION AND ORDER TO
                     Las Vegas, Nevada 89169




                                                         13
                        kjc@kempjones.com




                                                               vs.                                         EXTEND THE ANSWER DEADLINE
                                                         14
                                                               GREEN VAULT SYSTEMS, LLC,
                                                         15    a Washington limited liability
                                                               company,
                                                         16
                                                                                     Defendant.
                                                         17

                                                         18                                          Stipulation

                                                         19          This stipulation is entered into by and between plaintiff Greenbroz, Inc. and

                                                         20   defendant Green Vault Systems, LLC, by their respective counsel. The parties

                                                         21   respectfully request that the deadline for defendant to respond to the complaint be

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                                                                                                  6 Filed 11/06/20
                                                                                                          11/04/20 Page 2 of 2




                                                          1   extended from November 6, 2020 until November 20, 2020, to allow for continued
                                                          2   settlement discussions.
                                                          3                     4th
                                                                     DATED this _____ day of November, 2020.
                                                          4
                                                               LEAH MARTIN LAW                        KEMP JONES, LLP
                                                          5

                                                          6
                                                               /s/ Kevin Hejmanowski
                                                               _____________________________           /s/ Spencer H. Gunnerson
                                                          7    LEAH MARTIN, ESQ.                      J. RANDALL JONES, ESQ.
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                                                         19
                                                                                                     Order
                                                         20
                                                                                                        IT IS SO ORDERED.
                                                         21

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                                                         23
                                                                                                        UNITED STATES DISTRICT JUDGE
                                                         24                                                      11/6/2020
                                                                                                        DATED: _____________________
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